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                 4                                 UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7    DIAHANN POZOS-MALETTA,                                 Case No. 2:20-CV-242 JCM (NJK)
                 8                                           Plaintiff(s),                    ORDER
                 9           v.
               10     EQUIFAX INFORMATION SERVICES
                      LLC., et al.,
               11
                                                           Defendant(s).
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                             Presently before the court is the matter of Pozos-Maletta v. Equifax Information Services
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                      LLC et al., case number 2:20-cv-00242-JCM-NJK.
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                             On June 17, 2020, this court granted the parties’ joint motion to dismiss. (ECF No. 55).
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                      The parties were ordered to file dismissal papers within 14 days. The parties had earlier filed a
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                      notice of settlement. (ECF No. 53). No further action has occurred in this matter. The court
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                      now gives notice to the parties that it intends to close this matter.
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                             The remaining claims and parties will be dismissed, and this case closed, on October 30,
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                      2020, unless either party files a written objection by 5:00 p.m. on Thursday, October 29, 2020.
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                             Accordingly,
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                             IT IS SO ORDERED.
               23
                             DATED October 21, 2020.
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               25                                                    __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
